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                                                 January 30, 2025

VIA ECF

The Honorable Jennifer H. Rearden, U.S.D.J.
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

            Re:          Tecspec LLC, et al. v. Michael Donnolo, et al.
                         Civil Action No. 24 Civ. 8077 (JHR)

Dear Judge Rearden:

            This office represents Plaintiffs in the above-captioned matter. We are writing to the Court

to provide your Honor with a status update regarding the January 23, 2025 videoconference

between the parties, and to respectfully request that this Court order Defendants to provide

Plaintiffs with the information they need to make Plaintiff Tecspec LLC (“Tecspec LLC”)

operational, as well as return to Plaintiffs the items belonging to Tecspec LLC and which are

currently and unlawfully in Defendants’ possession. A copy of the proposed Order is attached

hereto as Exhibit A1.




         As the Court may recall, Plaintiffs’ Proposed Order filed on January 17, 2025 (ECF
            1

#76) reserved Plaintiffs’ rights to seek court intervention regarding the outstanding information
owed to Plaintiffs be Defendants if the January 23, 2025 videoconference was unsuccessful.
Accordingly, Plaintiffs are now submitting a separate proposed order regarding same.


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         On January 23, 2025, after multiple previous and unsuccessful meetings, the parties met

via videoconference, as per the Court’s directive, for the express purpose of Defendants providing

information to Plaintiffs that would enable them to operate Tecspec LLC. Plaintiffs appeared on

the videoconference in good faith, along with several of Tecspec LLC’s IT and engineering

personnel to facilitate the process. Defendants, on the other hand, did not appear in good faith.

Indeed, Defendants refused to speak directly with Plaintiffs, instead using Mr. Blum as an

intermediary. The entire purpose of this videoconference was for the parties to engage in a frank

discussion and for Defendants to freely provide the information Plaintiffs needed to make Tecspec

LLC operational. Instead, as demonstrated by the recording of the videoconference2, Defendants

refused to speak directly to Plaintiffs or their engineering personnel, leaving Mr. Blum, a non-

engineer, to provide information that was often unclear, missing context, or flat out evasive. As

demonstrated in detail below, it quickly became evident that Defendants had not appeared in good

faith, and as such, Plaintiffs were unable to obtain the information that they needed. For the ease

of the Court’s reference, Plaintiffs have provided a full list of what specific, technical information

remains outstanding, which is attached hereto as Appendix A. Below is a review of various

excerpts from the videoconference, which clearly demonstrate that Defendants were being

purposefully evasive.

          One of the main issues that Plaintiffs have been grappling with is how to get Tecpec LLC’s

conveyor belt back up and running. When asked about the conveyor belt, Defendants (through

their counsel) stated for the first time that “the conveyor belt hasn’t been used in four years,” (20:55



         2
          A true and correct recording of the videoconference is attached hereto as Exhibit B. Due
to the format of the file, it cannot be uploaded via ECF. Plaintiffs are therefore attaching Exhibit
B via hyperlink here.
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- 21:403) and further stated that the QR codes lasered onto the units had not been in effect “for at

least the last two years.” 42:34-42:47. These statements were directly contradicted by David

Lopez, a Tecspec LLC employee, who stated that, “Six, eight months ago the QR codes were

working, the conveyor was working, the laser about a year ago, but this was operational before

they even left.” 54:30 – 54:52. Defendants failed to respond to Mr. Lopez, leaving Plaintiffs none

the wiser as to: (i) how to operate the conveyor belt; and (ii) the purpose of the conveyor belt for

Tecspec LLC.

          Another machine key to Tecspec LLC’s operations is the Swiss Lathe. Since Defendants

left their employment with Tecspec LLC, Plaintiffs have been unable to operate the Swiss Lathe.

In response to Plaintiffs’ request for the location of the Nozzles, Leveling Leg feet, and Leveling

leg threaded rod programs and step files, along with other items that were made on the Swiss lathe,

Defendants’ counsel claimed that the programs were located in the machine’s internal memory.

See 58:31 (“[The programs are located in] the internal memory of the Swiss Lathe Machine.”) Mr.

Senia and Michael Mickulick, an engineer affiliated with Tecpsec LLC refuted this statement,

saying:

                    [Mickulick:] No…

                    [Senia]: there’s no USB key in the machine, it’s gone.

                    [Mickulick:] and there’s nothing in the memory of the Swiss
                    machine… it’s not there, you wiped it.

58:39-58:48. After being caught in a lie, Defendants’ counsel made an about face and claimed that

“Apparently the USB never worked.” 59:13.




          3
              All time stamps refer to the recording attached hereto at Exhibit B.
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         Similarly, when asked about the program that was used to make the Tecspec LLC nozzles,

Defendants’ counsel claimed that:

                  The program was in the machine memory, the last that was checked
                  was in the machine memory. If it’s not in the machine memory now,
                  I don’t know what to tell you. … anything relating to the programs
                  for this machine are also in this [Dropbox] folder.

1:05:43- 1:06:16. Only one type of nozzle drawing is contained in the Dropbox folder.

         Defendants also failed to proffer a sufficient explanation regarding the location of various

items on the network map. When asked about same, Defendants’ counsel responded as follows:

                  We don’t know physically where those are in the facility, and we
                  would have no way of knowing here today where those are in the
                  facility. If there was inventory that was done of the facility… if there
                  was an inventory done I’m sure that it would be identified within
                  that inventory

14:00-14:32. This response is both nonsensical and internally inconsistent. Defendants, through

their counsel, cannot simultaneously claim that they have “no way of knowing” where the items

are, and in the same breath guarantee that if an inventory was done, “it would be identified within

that inventory.” Plaintiffs are thus left to locate these items without assistance.

         Finally, when Plaintiffs asked Defendants the simple question of who the panel builder that

they contracted with was, Defendants’ counsel responded as follows:

                  We don’t know, it’s in Josh’s email.

         1:40: 50-53.

         Plaintiffs thus remain unable to operate Tecspec LLC, and after multiple conferences, it

has become apparent that Defendants have no intention of enabling Plaintiffs to do same.

Furthermore, Defendants are still in unlawful possession of several items belonging to Plaintiffs,

including but not limited to:


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              1. M. Donnolo’s laptop, which contains programs purchased by Tecspec LLC, as well

                  as Tecspec LLC files;

              2. Chairs and plastic orange chairs;

              3. Red plastic bins;

              4. Tools, screw guns, and miscellaneous tools and bolts;

              5. All tools and bits used on the CNC machine, including but not limited to the stand
                 that holds them;

              6. Sound insulation for silencer tubing;

              7. Wiring Harnesses used on the induction units;

              8. Aluminum Silencer piping;

              9. Dwyer gages;

              10. 3D printer plastic wires;

              11. Alum dies; and

              12. All drawings and testing data on the new Coanda-based HVAC unit.4

         Several of the requested items are demonstrated on Exhibit C attached hereto. On January

29, 2025, we wrote to Defendants’ counsel and demanded return of same. A true and correct copy

of the January 29, 2025 correspondence is attached hereto as Exhibit D. Plaintiffs have tried to

resolve these issues in good faith. However, it has become clear that Plaintiffs are not going to

receive the information they need or the items they are entitled to from Defendants absent court

intervention. As such, Plaintiffs are respectfully requesting that this Court order Defendants to

provide Plaintiffs with the information they need to make Tecspec LLC operational and to return

the items Defendants have stolen from Tecspec LLC.


         4
        To the extent that Defendants claim that they properly own any of the above, Plaintiffs
hereby demand that they provide bills and/or invoices demonstrating same.
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          As always, we thank the Court for its time and attention to this matter.

                                                  Respectfully submitted,

                                                  /s/ Jason R. Melzer

                                                  Jason R. Melzer


JRM

cc:      Matthew S. Blum, Esquire (Via ECF)
         Jay H. Min, Esquire (Via ECF)




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                                             Appendix A

              1. The location of:

                      a. apContainer;

                      b. modbus2;

                      c. ap3; and

                      d. pi8.

              2. All open questions regarding the conveyor belt, including but not limited to:

                      a. how the conveyor belt QR codes were generated and applied,

                      b. if the QR codes provide subcomponent traceability and how the lookups are

                         done for that;

                      c. how units are initially entered into the database via QR code;

                      d. whether the script used for smaller portions of the conveyor belt were

                         iterative or used for different components;

                      e. the startup process for the conveyor belt system;

                      f. the functions of the associated kiosks, test rigs, and pcams; and

                      g. how the testrigX.py files run.

              3. All documentation related to the calibration of testing equipment;

              4. Whether Cloudkey0 or I uses DNS, and other related special configurations;

              5. Whether all devices need to access the Tecspec Prod wireless network to run the

                  Python scripts;

              6. Sequence of operations for the three programs involved in the nozzle

                  manufacturing;

              7. The name, location, and execution of the SQL program that runs the assembly line;

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              8. The software used to program the Belimo valve;5

              9. Information regarding and location of the central panel program and name and

                  phone number of the panel builder;




5
    A screenshot of the software is attached hereto as Exhibit E.
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